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 1    GARMAN TURNER GORDON LLP                     MICHAEL D. NAPOLI, ESQ.
      GERALD M. GORDON                             Pro hac vice
 2    Nevada Bar No. 229                           AKERMAN LLP
      E-mail: ggordon@gtg.legal                    2001 Ross Avenue, Suite 3600
 3
      WILLIAM M. NOALL                             Dallas, Texas 75201
 4    Nevada Bar No. 3549                          Tel: (214) 720-4360 / Fax: (214) 720-8116
      E-mail: wnoall@gtg.legal                     Email: michael.napoli@akerman.com
 5    7251 Amigo St., Suite 210                    ARIEL E. STERN, ESQ.
      Las Vegas, Nevada 89119
 6                                                 Nevada Bar No. 8276
      Tel: (725) 777-3000 / Fax: (725) 777-3112    AKERMAN LLP
 7                                                 1635 Village Center Circle, Suite 200
                                                   Las Vegas, Nevada 89134
 8                                                 Tel: (702) 634-5000 / Fax: (702) 380-8572
                                                   Email: ariel.stern@akerman.com
 9
      Attorneys for Tecumseh–Infinity Medical
10    Receivable Fund, LP

11                      IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEVADA
12
      In re:
13
      INFINITY CAPITAL MANAGEMENT,                Case No. 21-14486-abl
14    INC.,
                                                  Chapter 7
15                         Debtor.

16
      HASELECT-MEDICAL RECEIVABLES
17    LITIGATION FINANCE FUND
      INTERNATIONAL SP,                           Adversary Case No. 21-01167-abl
18
                           Plaintiff,
19    v.
                                                   DECLARATION OF MICHAEL BELOTZ
20    TECUMSEH–INFINITY MEDICAL                       IN SUPPORT OF MOTION FOR
      RECEIVABLES FUND, LP,                               PARTIAL SUMMARY
21
                           Defendant.              JUDGMENT AS TO DIRECT PURCHASE
22                                                          RECEIVABLES
      TECUMSEH–INFINITY MEDICAL
23    RECEIVABLES FUND, LP,
                           Counter-Claimant,
24
      v.
25
      HASELECT-MEDICAL RECEIVABLES
26    LITIGATION FINANCE FUND
      INTERNATIONAL SP,
27
                           Counter-Defendant.
28

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 1       HASELECT-MEDICAL RECEIVABLES
         LITIGATION FINANCE FUND
 2       INTERNATIONAL SP,
 3                             Counter-Claimant,
 4       v.
         TECUMSEH–INFINITY MEDICAL
 5                                                          Date: to be set
         RECEIVABLES FUND, LP,                              Time: to be set
 6                             Counter-Defendant.
 7

 8   I, MICHAEL BELOTZ, pursuant to 28 U.S.C. § 1746, declare as follows:
 9            1.      My name is Michael Belotz. I am over the age of twenty one years, of sound

10   mind, and fully competent to testify in this cause.

11            2.      I submit this declaration in support of the Motion for Partial Summary Judgment

12   as to Direct Purchase Receivables (the “Motion”) of Tecumseh–Infinity Medical Receivable

13   Fund, LP (“Tecumseh”), defendant and counterclaimant in the above-captioned adversary

14   proceeding.

15            3.      I am a principal of Tecumseh Alternatives, LLC, the advisor to Tecumseh. In that

16   capacity, I have personal knowledge of the facts stated herein, all of which are true and correct.

17   If called upon to testify regarding the contents of this Declaration, I could and would do so.

18            4.      In my role as a principal of Tecumseh, I am responsible for all aspects of

19   Tecumseh’s investments in medical receivables. Part of my duties require that I ensure the

20   proper accounting and reporting of funds flowing to and from Tecumseh. In order to do so, I

21   review and manage Tecumseh's banking records, financial records, contracts, and investments.

22            5.      As it relates to Tecumseh, I was personally involved in the business between

23   Debtor and Tecumseh, particularly as it relates to the purchase of receivables pursuant to a sub-

24   advisory agreement entered with the Debtor on June 18, 2020, as modified by Addendum A on

25   or about January 5, 2021 (the “Sub-Advisory Agreement”).1

26
     1
27     A true and correct copy of the Sub-Advisory Agreement is attached to Tecumseh’s Statement of Undisputed Facts
     in Support of Motion for Partial Summary Judgment as to Direct Purchase Receivables (the “Statement of
28   Undisputed Facts”) as Exhibit B.


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 1            6.    As part of my work coordinating with the Debtor, I had access to the Debtor’s

 2   internal database that stored all receivables Debtor managed on behalf of Tecumseh. I regularly

 3   reviewed the database in the course of my duties. I also had extensive contact with various

 4   employees of the Debtor, including Oliver Hemmers (“Hemmers”). I also spoke regularly,

 5   multiple times per week, with FTM Investments, Inc. (“FTM”), Tecumseh's and with the

 6   Debtor’s employees about the receivables that Tecumseh owned. We also had frequent e-mail

 7   exchanges. Generally, I would contact FTM before reaching out to the Debtor because

 8   contractually FTM managed accounting on all Tecumseh receivables.

 9   A.       The Relationship Between Tecumseh and the Debtor.

10            7.    The Sub-Advisory Agreement served two purposes: (1) facilitate the sale of

11   receivables from medical providers to Tecumseh and (2) to provide for servicing of the

12   receivables by the Debtor. Under the Sub-Advisory Agreement, the Debtor was not supposed to,

13   and did not, acquire a beneficial ownership interest in the receivables purchased on Tecumseh’s

14   behalf. Debtor exclusively served as an intermediary and servicer for Tecumseh.

15            8.    Under the Sub-Advisory Agreement, Tecumseh agreed to pay the Debtor a fee as

16   compensation for identifying receivables, negotiating a purchase price, processing the sale, and

17   servicing the receivables.

18            9.    Prior to the bankruptcy, Tecumseh acquired a total of about 8,670 receivables

19   with a face value of $28,045,874 under the Sub-Advisory Agreement. It is my understanding

20   that, each receivable represented a three-way transaction between Tecumseh, a medical provider,

21   and a personal injury plaintiff. Tecumseh agreed to pay the medical provider a certain sum of

22   money in exchange for the provider's medical services to the plaintiff. The plaintiff, in turn,

23   agreed to pay Tecumseh a larger amount of money (represented by the face amount of the

24   receivable) secured by an interest in the plaintiff’s claim.

25            10.   Thus, the process for purchasing a receivable began with the Debtor identifying a

26   receivable, negotiating with the medical provider, and presenting the receivable to Tecumseh.

27   FTM would then verify the receivable on behalf of Tecumseh, after which Tecumseh would

28   approve of the purchase. Tecumseh then paid the price agreed to by the medical provider along

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 1   with the fee to the Debtor required by the Sub-Advisory Agreement. Thereafter, each receivable

 2   received its own unique BillID number, and the Debtor would maintain in its records a

 3   corresponding Claim Form, together with evidence of Tecumseh’s contemporaneous payment.

 4   B.       Tecumseh provided the purchase money for the Direct Purchase Receivables.

 5            11.     To facilitate the purchase of Tecumseh Receivables and collection of proceeds,

 6   Tecumseh opened an account with Bank of America (the “BofA Account”). Tecumseh funded

 7   the BofA Account with money from its investors. It granted signing authority to Hemmers and

 8   Anne Pantelas (with co-signature by Belotz and another Tecumseh principal, Chad Meyer).

 9            12.     The receivables purchased by Tecumseh from and after October 29, 2020—4,190

10   receivables at a face amount of approximately $19,846,621.37—were paid for with transfers of

11   purchase money directly from Tecumseh’s BofA Account to the respective medical providers.

12   These receivables are referred to herein as the “Direct Purchase Receivables.”

13            13.     Tecumseh paid for the Direct Purchase Receivables directly from its BofA

14   Account to the medical provider. Further, rather than purchasing groups of receivables every two

15   weeks or so, Tecumseh purchased receivables throughout the month, and Tecumseh paid the

16   Debtor its servicing fee for its work in locating and servicing the Tecumseh Receivables monthly

17   from the BofA Account.

18            14.     As required by the Sub-Advisory Agreement, the Debtor maintained a log of the

19   Tecumseh       Receivables along with any collections on them.                 Debtor made these records

20   available to Tecumseh on a regular basis through an application known as “Case Manager”. In

21   addition, Tecumseh maintained its own records related to the Tecumseh Receivables.

22   Accordingly, Tecumseh prepared its own reconciliation evidencing the payment and detailed

23   purchase history of the Direct Purchase Receivables in reliance on both its and the Debtor’s

24   records. 2

25            15.     I and people working under my supervision traced payments made by Tecumseh

26   to medical service providers. To do so, we began with the two spreadsheets provided by the

27   2
      A true and correct copy of the Reconciliation is attached to Tecumseh’s Statement of Undisputed Facts as Exhibit
28   F.


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 1   Debtor -- TIFDumpWithIncomeFinal.xlsx and ESDVerifiedHASOverlapDumpWithIncome.xlsx

 2   (collectively “the Debtor’s spreadsheets”) – and compared the data entered by the Debtor in the

 3   Provider’s name, the BillID, the PaidCheckNo. and the Bill Cost columns to the BofA Account

 4   Statements and cancelled checks.

 5            16.   The Debtor did not record the actual amount that Tecumseh paid the providers for

 6   receivables. For the Bill Cost data, the Debtor combined the actual amount that Tecumseh paid

 7   to the provider with an allocation of the fee that Tecumseh paid to the Debtor for its services.

 8   After backing out the Debtor’s fee, we were able to tie cancelled checks and wire transfer

 9   confirmations in the account statements to individual receivables. We were also able to largely

10   reconcile our bank records to the fees paid to the Debtor for its services.

11            17.   An example of this reconciliation is the purchase of four receivables from South

12   Atlanta MUA Center on or about October 29, 2020 shown on Exhibit F at page 2. According to

13   the Debtor’s Spreadsheets, Tecumseh purchased four receivables (BillID Nos. 27183, 27278,

14   27292, 27293) with a total face amount of $115,108.00 from South Atlanta MUA Center. The

15   Debtor recorded a BillCost for the four receivables of $34,532.40. As discussed the BillCost is

16   comprised of the amount that Tecumseh paid South Atlanta MUA Center and the fee paid to the

17   Debtor. We reduced the BillCost by the 20% fee ($5,755.40) to obtain the actual amount that

18   Tecumseh paid to South Atlanta MUA Center ($28,777.00). We then identified a wire transfer

19   (No. 301693158) paid in that amount on October 29, 2020 to South Atlanta MUA Center in the

20   BofA Account Statements.

21            18.   We used the same reconciliation process for all 4,190 receivables totaling

22   $19,846,621.37 in face value.

23            19.   Since the filing of this action, Tecumseh has learned that Debtor also maintained

24   several binders, or a compilation of documents, evidencing Tecumseh’s direct payments to

25   medical providers and all corresponding Claim Forms for some of the Direct Purchase

26   Receivables purchased by Tecumseh. Each Claim Form represented a distinct Receivable,

27   affiliated with a unique BillID number.

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 1              20.     The chart below represents a reconciled accounting of the Direct Purchase

 2   Receivables:

 3                    Month/Year         Number of          Face Value          Total           Infinity
                                         Receivables                           Purchase           Fee
 4                                                                              Price
 5                October/20203          92 total         $828,614.88        $142,862.63 $28,572.52
 6
                  November/20204         266 total        $501,921.54        $170,027.05 $30,142.28
 7
                  December/20205         441 total        $1,305,197.62 $283,162.07 $56,692.44
 8
                  January/20216          430 total        $1,500,807.25 $284,325.87 $56,865.78
 9
                  February/20217         323 total        $1,248,675.56 $321,377.94 $64,588.45
10
                  March/20218            412 total        $2,081,787.17 $285,862.33 $46,100.85
11

12                April/20219            425 total        $1278990.10        $308,721.70 $33,371.64

13                May/202110             582 total        $2647439.26        $349,515.96 $69,903.19

14                June/202111            533 total        $4233654.73        $539,763.82 $98,999.89
15                July/202112            245 total        $2154768.92        $197,192.40 $29,861.69
16
     3
17    A copy of Tecumseh’s monthly account statement for the BofA Account dated October 31, 2020 is attached as part
     of Composite Exhibit G to the to the Statement of Undisputed Facts.
18   4
      A copy of Tecumseh’s monthly account statement for the BofA Account dated November 30, 2020, is attached as
     part of Composite Exhibit G to the to the Statement of Undisputed Facts.
19   5
      A copy of Tecumseh’s monthly account statement for the BofA Account dated December 31, 2020, is attached as
20   part of Composite Exhibit G to the to the Statement of Undisputed Facts.
     6
      A copy of Tecumseh’s monthly account statement for the BofA Account dated January 31, 2020, is attached as
21   part of Composite Exhibit G to the to the Statement of Undisputed Facts.
     7
22    A copy of Tecumseh’s monthly account statement for the BofA Account dated February 28, 2020, is attached as
     part of Composite Exhibit G to the to the Statement of Undisputed Facts.
23   8
      A copy of Tecumseh’s monthly account statement for the BofA Account dated March 31, 2020, is attached as part
     of Composite Exhibit G to the to the Statement of Undisputed Facts.
24   9
      A copy of Tecumseh’s monthly account statement for the BofA Account dated April 30, 2020, is attached as part
25   of Composite Exhibit G to the to the Statement of Undisputed Facts.
     10
       A copy of Tecumseh’s monthly account statement for the BofA Account dated May 31, 2020, is attached as part
26   of Composite Exhibit G to the to the Statement of Undisputed Facts.
     11
27     A copy of Tecumseh’s monthly account statement for the BofA Account dated June 30, 2020, is attached as part
     of Composite Exhibit G to the to the Statement of Undisputed Facts.
28   12
          A copy of Tecumseh’s monthly account statement for the BofA Account dated July 31, 2020, is attached as part

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 1                 August/202113           394 total         $1751688.53      $199,942.76 $31,348.54

 2                 September/202114 47 total                 $313075.81       $102,827.82           -
 3

 4   C.         Tecumseh intended to possess beneficial ownership interest in the Direct Purchase

 5              Receivables.

 6              21.      Tecumseh expected and intended to be owner of the Receivables it purchased.

 7   Tecumseh has, at all times relevant hereto, held itself out as the beneficial owner of the

 8   Tecumseh Receivables. Tecumseh relayed to its fund administrator the “Bill ID, cost of the

 9   receivable, the overhead charge, the total cost, date paid and the type” of receivables “bought

10   since the [time the] last report was generated.”15

11              22.      Tecumseh ownership information available to its investors on a regular basis,

12   posting publicly available fund reports detailing, among other things, the “date of purchase”

13   together with the “purchase cost” of each Tecumseh Receivable denoted by its “BillID.”16

14   Tecumseh also reported its ownership interest and any resulting capital gains and losses to the

15   Internal Revenue Service.

16              23.      All dollars collected on the Tecumseh Receivables were paid directly to

17   Tecumseh and not to the Debtor.

18              24.      Tecumseh paid the Debtor a fee as compensation for identifying receivables,

19   negotiating a purchase price, processing the sale, and servicing the receivables as set forth in the

20   Sub-Advisory Agreement. These provisions of the Sub-Advisory Agreement were intended to

21   incentivize the identification and servicing of high yielding receivables by the Debtor for

22   Tecumseh’s benefit.

23
                                            (continued)
24   of Composite Exhibit G to the to the Statement of Undisputed Facts.
     13
       A copy of Tecumseh’s monthly account statement for the BofA Account dated August 31, 2020, is attached as
25   part of Composite Exhibit G to the to the Statement of Undisputed Facts.
     14
26     A copy of Tecumseh’s monthly account statement for the BofA Account dated September 30, 2020, is attached as
     part of Composite Exhibit G to the to the Statement of Undisputed Facts.
27   15
          See Email Correspondence attached as Exhibit H to the Statement of Undisputed Facts.
     16
28        See Reports (tecumsehalts.com), last visited 8/26/2022.


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 1            I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3                         26 2022.
              Dated August ___,

 4
                                                       MICHAEL BELOTZ
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